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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS - EL PASO DIV.
============================== :
UNITED STATES OF AMERICA,        :
                                 :     3:13-cr-00370-3
                                 :
                                 :
     — versus —                  :
                                 :
                                 :
MARCO DELGADO,                   :
                Defendant.       :
============================== :

        MOTION TO STAY RECEIVER’S EXECUTION OF SALE OF PROPERTY
     PENDING RESOLUTION OF DIRECT APPEAL AND MOTION FOR NEW TRIAL

         Comes now Defendant MARCO ANTONIO DELGADO, (“Delgado”), by and through his

counsel of record, Bernard V. Kleinman, Esq., an attorney duly admitted to practice before the Bar

of this Court, and respectfully moves this Court for an Order staying the receiver’s execution of

the sale of property pending resolution of the motion for new trial and direct appeal in this mater.

In support thereof Delgado provides as follows:

         1.      On January 22, 2014, Delgado was indicted in a superseding indictment with three

counts of wire fraud (18 U.S.C. § 1343), and seven counts of money laundering (18 U.S.C. §

1956(a)(2)(B)(i)).

         2.      Relevant to this motion, the indictment contained two provisions for forfeiture,

pursuant to 18 U.S.C. §§ 981, 982.1



1
    The indictment contained a forfeiture allegation for the following property:
          a. a sum of money in United States currency representing the amount of proceeds obtained
          as a result of the offenses set forth in Counts One, Two, and Three;
          b. approximately $2,589,889 in funds on deposit in the First Caribbean International Bank
          Account, number 10286872, and any and all property traceable thereto;
          c. real property and appurtenances located at 1109 Cerrito Feliz Lane, El Paso, Texas,
          79912, with all improvements and attachments thereon, and any and all property
          traceable thereto; and
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        3.     Final judgment against Delgado was entered on September 29, 2017. The

Government did not perfect their claim of lien until June 28, 2018, and did not move to foreclose

on the residence until April 26, 2019. (D/E 361).

        4.     On June 12, 2019, this Court issued a final judgment of forfeiture against Delgado,

initiating the sale of Delgado’s residence pursuant to 28 U.S.C. § 20012 and initiating the

appointment of a receiver 18 U.S.C. §§ 3613, 3664(m)(1)(A) and 26 U.S.C. § 7403. (D/E 369).

Delgado has filed an appeal on that order. (D/E 371).

        5.     In the interim on June 18, 2019, the Court issued an order granting Delgado until

September 20, 2019, to file his motion for new trial pursuant to Fed. R. Crim. P. 33(b)(1). This

order was premised on the Fifth Circuit’s remand staying Delgado’s direct appeal. (D/E 359).

        6.     While the Rule 33 may well affect the sale of the residence, on August 16, 2019,

nevertheless, the Court-appointed a receiver for the sale of the property. (D/E 376, 377).

        7.     Delgado is requesting that any action by the receiver stayed pending the outcome

of Rule 33 related pleadings and the direct appeal of this case.

        8.      The Government will not be prejudiced as they waited 19 months in seeking to

foreclose on the lien and they cannot claim that selling the property now, versus after the Rule 33

and direct appeal are addressed, that the property will be spoiled or otherwise rendered of lesser

value if the Court grants this stay.




       d. all furniture, furnishings, and other properties located at 1109 Cerrito Feliz Lane, El
       Paso, Texas, that were purchased by Marco Delgado at Charlotte’s Fine Furnishings,
       using funds from the First Caribbean International Bank Account, number 10286872.
2
 The Government had previously sought seizure of the denominated assets “b” thru “d” in prior
proceedings. (D/E 265, 267).
                                                 2
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       9. On August 27th, 2019, at 8:29 a.m., EST, I emailed Assistant U.S. Attorney Arreola as

to the Government’s position on this Motion.

       10. As of the date and time of filing of this Motion, no response has been received.

       Wherefore, Marco Antonio Delgado respectfully prays this Court will grant a stay on any

sale of the property until after the resolution of the Rule 33 and the direct appeal in this matter.

 Dated: August 26, 2019
        Somers, NY


                                                Respectfully submitted,

                                                /s/ Bernard V. Kleinman
                                                Bernard V. Kleinman, Esq.
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                                 CERTIFICATE OF SERVICE

       I am Bernard V. Kleinman, Esq., attorney of record for Defendant MARCO DELGADO,

and I do solemnly affirm under the laws against perjury of the United States, that I did serve the

within Motion, and related pleadings, on Anna Arreola, Esq., Assistant U.S. Attorney for the

Western District of Texas, attorney of record for the United States, by electronically filing through

this Courts ECF filing system, on the 26th day of August 2019.


 Dated: August 26, 2019
       Somers, NY


                                               /s/ Bernard V. Kleinman
                                               Bernard V. Kleinman, Esq.




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